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                                            STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
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ATTORNEY GENERAL                                                                                            LITIGATION BUREAU

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                                                     September 23, 2022

    By ECF
    Hon. Ronnie Abrams
    Thurgood Marshall
    United States Courthouse
    40 Foley Square
    New York, NY 10007

                      Re:       Jane Smith v. Annucci, et al.,
                                21-CV-01715 (RA)(OTW) [rel. 17-CV-07954 (RA)(OTW)]

    Dear Judge Abrams:

            I write respectfully on behalf of the defendants, and in response to the Court’s September
    22, 2022 Order (ECF No. 163), directing the parties to appear for a telephone conference on
    September 27, 2022, to request that the date of the conference be adjourned to September 30, 2022,
    or a date thereafter convenient for the Court. The reason for the requested adjournment is that the
    conference date conflicts with a religious observance. I have conferred with counsel for plaintiffs
    and they have consented to this request and have confirmed their availability on September 30,
    2022.

                                                                        Respectfully submitted,

                                                                        /s/ Neil Shevlin
                                                                        Neil Shevlin
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                                                                        Neil.Shevlin@ag.ny.gov
    cc: Counsel for plaintiffs (by ECF)




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